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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION




SYMBOLOGY INNOVATIONS, LLC,                    Case No: 2:16-cv-0450-JRG
                 Plaintiff                           LEAD CASE
v.

CITIBANK, N.A.

                 Defendant.


                                              Case No. 2:16-CV-00600-JRG
SYMBOLOGY INNOVATIONS, LLC,
                                                CONSOLIDATED CASE
                 Plaintiff

v.

NETGEAR, INC.

                 Defendant.




                             NETGEAR INC.'S ANSWER




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        Defendant NETGEAR, Inc. (“NETGEAR”) responds to Complaint of Symbology

Innovations, LLC (“Symbology” or “Plaintiff”) as follows:

                                              ANSWER

                                  PARTIES AND JURISDICTION

        1.      NETGEAR admits, on information and belief, that the Complaint purports to set

forth an action under Title 35 of the United States Code, and that Plaintiff is seeking injunctive

relief as well as damages. NETGEAR denies all allegations of patent infringement and that

Plaintiff is entitled to any relief.

        2.      NETGEAR admits, on information and belief, that jurisdiction is proper in this

Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and 1338(a) (Patents) because the

Complaint purports to set forth a civil action for patent infringement arising under the United

States patent statutes.

        3.      NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 3, and therefore denies them.

        4.      NETGEAR admits the allegations of Paragraph 4.

        5.      NETGEAR admits, on information and belief, that the Court has personal

jurisdiction over it in this action. NETGEAR denies the remaining allegations of Paragraph 5 of

the Complaint, and specifically denies all allegations of patent infringement and that Plaintiff is

entitled to any relief.

        6.      NETGEAR admits that it has conducted business in the State of Texas, and denies

the remaining allegations of Paragraph 6 of the Complaint, and specifically denies all allegations

of patent infringement and that Plaintiff is entitled to any relief.




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                                                VENUE

         7.     NETGEAR admits, on information and belief, that venue may be proper in this

judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b), but

NETGEAR denies that venue is convenient in this district, and denies the remaining allegations

of Paragraph 7 of the Complaint, and specifically denies all allegations of patent infringement

and that Plaintiff is entitled to any relief.

                                                COUNT I

         8.     NETGEAR incorporates by reference its responses to Paragraphs 1 through 7

above.

         9.     NETGEAR admits that the Complaint purports to set forth a claim under the

patent laws of the United States. NETGEAR denies the remaining allegations of Paragraph 9 of

the Complaint, and specifically denies all allegations of patent infringement and that Plaintiff is

entitled to any relief.

         10.    NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 10, and therefore denies them.

         11.    NETGEAR admits, on information and belief, that the ‘752 patent appears to be

entitled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.” NETGEAR further admits that a copy of what Plaintiff alleges to be the

‘752 patent is attached to the Complaint as Exhibit A.

         12.    NETGEAR denies the allegations of Paragraph 12 of the Complaint.

         13.    NETGEAR denies the allegations of Paragraph 13 of the Complaint.

         14.    NETGEAR denies any express or implied allegations of infringement in

Paragraph 14 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App



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product. Plaintiff appears to otherwise be stating claim construction and/or alleged infringement

positions herein, and those are denied. NETGEAR specifically denies all allegations of patent

infringement and that Plaintiff is entitled to any relief.

        15.     NETGEAR denies any express or implied allegations of infringement in

Paragraph 15 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product. NETGEAR admits that what Plaintiff alleges is an example of a digital image of a QR

code is depicted in Paragraph 15 of the Complaint. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        16.     NETGEAR denies any express or implied allegations of infringement in

Paragraph 16 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product and product literature for such product. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        17.     NETGEAR denies any express or implied allegations of infringement in

Paragraph 17 of the Complaint. Plaintiff appears to be stating claim construction and/or alleged

infringement positions herein, and those are denied, and NETGEAR specifically denies all

allegations of patent infringement and that Plaintiff is entitled to any relief.

        18.     NETGEAR denies any express or implied allegations of infringement in

Paragraph 18 of the Complaint. NETGEAR admits that what Plaintiff alleges to be a partial

screen shot of a website is depicted in Paragraph 18 of the Complaint. Plaintiff appears to be

stating claim construction and/or alleged infringement positions herein, and those are denied, and

NETGEAR specifically denies all allegations of patent infringement and that Plaintiff is entitled



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to any relief.

         19.     NETGEAR denies the allegations of Paragraph 19 of the Complaint.

         20.     NETGEAR denies the allegations of Paragraph 20 of the Complaint.

         21.     NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 21, and therefore denies them.

                                           COUNT II

         22.     NETGEAR incorporates by reference its responses to Paragraphs 1 through 21

above.

         23.     NETGEAR admits that the Complaint purports to set forth a claim under the

patent laws of the United States. NETGEAR denies the remaining allegations of Paragraph 23 of

the Complaint, and specifically denies all allegations of patent infringement and that Plaintiff is

entitled to any relief.

         24.     NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 24, and therefore denies them.

         25.     NETGEAR admits, on information and belief, that the ‘369 patent appears to be

entitled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.” NETGEAR further admits that a copy of what Plaintiff alleges to be the

‘369 patent is attached to the Complaint as Exhibit B.

         26.     NETGEAR denies the allegations of Paragraph 26 of the Complaint.

         27.     NETGEAR denies the allegations of Paragraph 27 of the Complaint.

         28.     NETGEAR denies any express or implied allegations of infringement in

Paragraph 28 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product. Plaintiff appears to otherwise be stating claim construction and/or alleged infringement



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positions herein, and those are denied. NETGEAR specifically denies all allegations of patent

infringement and that Plaintiff is entitled to any relief.

        29.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 29 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product. NETGEAR admits that what Plaintiff alleges is an example of a digital image of a QR

code is depicted in Paragraph 29 of the Complaint. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        30.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 30 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product and product literature for such product. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        31.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 31 of the Complaint. Plaintiff appears to be stating claim construction and/or alleged

infringement positions herein, and those are denied, and NETGEAR specifically denies all

allegations of patent infringement and that Plaintiff is entitled to any relief.

        32.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 32 of the Complaint. NETGEAR admits that what Plaintiff alleges to be a partial

screen shot of a website is depicted in Paragraph 32 of the Complaint. Plaintiff appears to be

stating claim construction and/or alleged infringement positions herein, and those are denied, and

NETGEAR specifically denies all allegations of patent infringement and that Plaintiff is entitled

to any relief.



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         33.    NETGEAR denies the allegations of Paragraph 33 of the Complaint.

         34.    NETGEAR denies the allegations of Paragraph 34 of the Complaint.

         35.    NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 35, and therefore denies them.

                                           COUNT III

         36.    NETGEAR incorporates by reference its responses to Paragraphs 1 through 35

above.

         37.    NETGEAR admits that the Complaint purports to set forth a claim under the

patent laws of the United States. NETGEAR denies the remaining allegations of Paragraph 37 of

the Complaint, and specifically denies all allegations of patent infringement and that Plaintiff is

entitled to any relief.

         38.    NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 38, and therefore denies them.

         39.    NETGEAR admits, on information and belief, that the ‘190 Patent appears to be

entitled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.” NETGEAR further admits that a copy of what Plaintiff alleges to be the

‘190 patent is attached to the Complaint as Exhibit C.

         40.    NETGEAR denies the allegations of Paragraph 40 of the Complaint.

         41.    NETGEAR denies the allegations of Paragraph 41 of the Complaint.

         42.    NETGEAR denies any express or implied allegations of infringement in

Paragraph 42 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product. Plaintiff appears to otherwise be stating claim construction and/or alleged infringement

positions herein, and those are denied. NETGEAR specifically denies all allegations of patent



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infringement and that Plaintiff is entitled to any relief.

        43.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 43 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product. NETGEAR admits that what Plaintiff alleges is an example of a digital image of a QR

code is depicted in Paragraph 43 of the Complaint. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        44.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 44 of the Complaint. NETGEAR admits that there is a NETGEAR Genie App

product and product literature for such product. Plaintiff appears to otherwise be stating claim

construction and/or alleged infringement positions herein, and those are denied.                NETGEAR

specifically denies all allegations of patent infringement and that Plaintiff is entitled to any relief.

        45.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 45 of the Complaint. Plaintiff appears to be stating claim construction and/or alleged

infringement positions herein, and those are denied, and NETGEAR specifically denies all

allegations of patent infringement and that Plaintiff is entitled to any relief.

        46.      NETGEAR denies any express or implied allegations of infringement in

Paragraph 46 of the Complaint. NETGEAR admits that what Plaintiff alleges to be a partial

screen shot of a website is depicted in Paragraph 46 of the Complaint. Plaintiff appears to be

stating claim construction and/or alleged infringement positions herein, and those are denied, and

NETGEAR specifically denies all allegations of patent infringement and that Plaintiff is entitled

to any relief.

        47.      NETGEAR denies the allegations of Paragraph 47 of the Complaint.



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       48.     NETGEAR denies the allegations of Paragraph 48 of the Complaint.

       49.     NETGEAR is without knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 49, and therefore denies them.

                            [PLAINTIFF’S] PRAYER OF RELIEF

       NETGEAR incorporates by reference its responses to Paragraphs 1 through 49 above. To

the extent Plaintiff’s Prayer for Relief contains any allegations and/or averments, NETGEAR

denies all such allegations and/or averments. NETGEAR denies that Plaintiff is entitled to any

relief whatsoever against NETGEAR in this action, either as prayed for in the Complaint or

otherwise. Except as expressly admitted above, NETGEAR denies each and every allegation

contained in the Complaint.

                                      AFFIRMATIVE DEFENSES

       NETGEAR hereby asserts the following affirmative defenses, without undertaking or

otherwise shifting the applicable burden of proof in any respect. NETGEAR specifically reserves

the right to assert additional affirmative defenses as warranted by facts learned through

investigation and discovery.

       First Affirmative Defense

       1.      The Complaint fails to state a claim upon which relief can be granted.

       Second Affirmative Defense

       2.      NETGEAR does not infringe, nor has it infringed, directly infringed,

contributorily infringed or induced infringement of the patents-in-suit, either by literal

infringement or by infringement under the doctrine of equivalents.

       Third Affirmative Defense

       3.      One or more of the claims of the patents-in-suit are invalid and/or unenforceable



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under one or more of the provisions of Title 35, U.S.C. Sections 100, et. seq., including Sections

101, 102, 103 and 112 thereof.

       Fourth Affirmative Defense

       4.      One or more of the claims of the patents-in-suit are barred by the doctrine of

estoppel (including, but not limited to, equitable estoppel, prosecution history estoppel and

otherwise).

       Fifth Affirmative Defense

       5.      One or more of the claims are barred in whole or in part by the doctrines of

waiver and/or laches.

       Sixth Affirmative Defense

       6.      One or more of the claims are unenforceable in whole or in part under the

doctrine of unclean hands.

       Seventh Affirmative Defense

       7.      Plaintiff’s claim for damages is barred to the extent that Plaintiff and/or Plaintiff’s

predecessor or licensee failed to mark products in accordance with Title 35, United States Code

Section 287 (a).

       Eighth Affirmative Defense

       8.      Upon information and belief, Plaintiff lacks standing to bring the claims and/or

requests for relief set forth in the Complaint.

       Ninth Affirmative Defense

       9.      Plaintiff’s purported damages, if any, are limited by Title 35, United States Code

Sections 286, 287 and 288, and the limitation period further bars past damages claims.




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        Tenth Affirmative Defense

        10.     The claims of the patents-in-suit are invalid and unenforceable because of the

applicant’s failure to comply with 35 U.S.C. §§ 111 and 116.

        Eleventh Affirmative Defense

        11.     Plaintiff’s claims are barred to the extent that some or all of the accused activities

and/or products are licensed, expressly or impliedly.

        Twelfth Affirmative Defense

        12.     Plaintiff cannot satisfy the requirements applicable to request for injunctive relief

and have an adequate remedy at law.

        Thirteenth Affirmative Defense

        13.     Plaintiff’s claims are barred and/or limited by the doctrines of full compensation,

patent exhaustion, and/or first sale, and Plaintiff is not entitled to double recovery.

        Fourteenth Affirmative Defense

        14.     Plaintiff has acquiesced to NETGEAR’s conduct as alleged in the Complaint.

        Fifteenth Affirmative Defense

        15.     Plaintiff has failed to state facts sufficient to support an award of attorneys' fees to

Plaintiffs.

        Sixteenth Affirmative Defense

        16.     Plaintiff’s claims, in whole or in part, are barred under 28 U.S.C. § 1498.

        Seventeenth Affirmative Defense

        17.     Plaintiff has failed to provide any notice concerning the patents-in-suit, and has

not moved for a preliminary injunction, and is thus barred from bringing claims of willful

infringement.



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       Eighteenth Affirmative Defense

       18.     Plaintiff has failed to allege any pre-filing conduct or sufficient post-filing

conduct to support a claim of willful infringement as to any of the patents-in-suit.

       NETGEAR reserves its rights to amend its Answer based on subsequently acquired

information.

                                    PRAYER FOR RELIEF

       WHEREFORE, NETGEAR requests that this Court enter a judgment in its favor and

against Plaintiff as follows:

       A.      Dismissing Plaintiff’s Complaint with prejudice in its entirety and denying all

relief requested therein;

       B.      Entering judgment in favor of NETGEAR and adjudging that Plaintiff takes

nothing;

       C.      Declaring that this case is exceptional under 35 U.S.C. § 285 and awarding

NETGEAR its costs, expenses and reasonable attorneys’ fees; and

       D.      Granting such further relief to NETGEAR as is just and proper.

                                 DEMAND FOR JURY TRIAL

Defendant NETGEAR hereby requests trial by jury.



September 12, 2016


                                           /s/          John P. Bovich
                                          John P. Bovich, Pro Hac Vice (Cal. SBN 150688)
                                          Jonah D. Mitchell, Pro Hac Vice (Cal. SBN 203511)
                                          REED SMITH LLP
                                          101 Second Street, Suite 1800
                                          San Francisco, CA 94105
                                          Telephone: +1 415 543 8700
                                          Facsimile: +1 415 391 8269

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                                Email: jbovich@reedsmith.com
                                Email: jmitchell@reedsmith.com

                                Michael J. Forbes
                                Texas Bar Number: 24074217
                                Reed Smith LLP
                                811 Main Street, Suite 1700
                                Houston, TX 77002-6110
                                Telephone: (713) 469-3864
                                Facsimile: (713) 469-3899
                                mforbes@reedsmith.com

                                Counsel for Defendant NETGEAR, Inc.




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM-ECF System per Local Rule CV-5(a)(3) on this 12th day of September 2016.

                                                     /s/_John P. Bovich___________________
                                                     John P. Bovich




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